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FILED

IN THE UNITED STATES DISTRICT CouRT —- MAR 02 2020

FOR THE SOUTHERN DISTRICT OF ILLINOIS | CLERK U.S. District court
SOUTHERN DISTRICT OF ILLINOIS
EAST ST. LOUIS OFFICE

UNITED STATES OF AMERICA.

Plaintiff.

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vs. ) CASE NUMBER ZD= ts 2020 “et
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KALEB RAY-QUAN HOLMES and

ALEXIS NICOLE BROWN Title 18. United States Code.

Sections 924 (c)(1 ( A)(ii).
) 1951 (a)
Defendants. )
CRIMINAL COMPLAINT
I, Ryan E. James. the undersigned complainant being duly sworm states the following ts
true and correct to the best of my knowledge and belief:
COUNT 1
INTERFERENCE WITH COMMERCE BY ROBBERY
On or about February 23. 2020, in Madison County, Illinois. within the Southern District
of Illinois.
KALEB RAY-QUAN HOLMES and ALEXIS NICOLE BROWN,
defendants herein. did unlawfully obstruct. delay and affect. interstate commerce as that term is
defined in Title 18. United States Code. Section 1951(a). by robbery. as that term is defined in
Title 18. United States Code. Section 1951(a), in that the defendant did unlawfully take and obtain
personal property consisting of United States currency from the person(s) of another — that is. from
an independent contractor of Uber and Lyft. located at XX XxXxxxxxx Xxxx. Collinsville. Illinois
— against his will by means of actual and threatened force, violence, and fear of immediate injury

to their person(s) — that is the defendant approached one Uber and Lyft employee. demanded the
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money. wallet. phone. and vehicle of the said Uber and Lyft employee. whereupon said employee
delivered to the defendant United States currency. wallet. phone, and vehicle. which was the
property of said Uber and Lyft employee. an emplovee of a business that was at the time engaged
in interstate commerce. AJ] in violation of Title 18. United States Code. Section 1951(a).
COUNT 2
BRANDISHING A FIREARM DURING A CRIME OF VIOLENCE

On or about February 23. 2020, in Madison County. Hinois. within the Southern District

of lilinois.
KALEB RAY-QUAN HOLMES and ALEXIS NICOLE BROWN,

Defendants herein, did knowingly brandish, carry, and use a firearm during and in relation to.
and did knowingly possess a firearm in furtherance of. a crime of violence for which he may be
prosecuted in a court of the United States, that is. Interference with Commerce By Robbery. in
Violation of Title 18. United States Code, Section 1951. as charged in Count 1. all in violation of
Title 18. United States Code, Section 924(c}(1 (Ai).

Your affiant. Ryan E. James. after being duly sworn, does hereby state that he is a Special
Agent (SA) with the Federal Bureau of Investigation (FBI) and has been sa employed for one-and-
a-half years, and as such, is vested with the authority to investigate violations of Federal laws,
including Titles 18 and 21 of the United States Code. Your affiant also has eight years prior
experience as a United States Anny officer. Your affiant is currently assigned to the Springfield
Division of the FBI. Fairview Heights. Hlinois Resident Agency and has primary investigative

responsibilities for violent and drug crimes occurring in the Southern District of Hlinois.
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The statements contained in this affidavit are based on the investigation of your affiant, as
well as information derived from reports and interviews of the law enforcement officers and
witnesses named herein. In support of this Complaint, your affiant states as follaws:

1} On February 23. 2020. at approximately 4:58am. a Jaw enforcement officer of Collinsville
Police Department heard the Collinsville Communications Center (CCC) activate the emergency
tone and broadcast that an armed robbery was being reported at XX Xxxxxxxx Xxxx. Collinsville.
Madison County. Illinois. The CCC advised it was believed two suspects wearing black clothing
displaved firearms and stole an adult male's. with the initials C.A.. vehicle. The vehicle was
identified as a red. 2017 Hyundai Elantra bearing Hlinois registration XXXX104. Law
enforcement officers responded to XX Xxxxxxxx Xxxx and requested CCC initiate an Hlinois
State Police Emergency Radio USPERN) broadcast for the stolen vehicle.

2y After law enforcement officers arrived at XX Xxxxxxxx Xxxx. C.A. stated he was an Uber
and Lyft driver and just returned ta his residence. C.A. had given about five Uber rides and about
six-seven Lyft rides during the evening. C.A. displayed a Lyft sign in the dash of his red. 2017
Hyundai Elantra on his way home. C.A. saw a vehicle that he believed was possibly following
him into his subdivision of Woodland Trails. C.A. backed into his driveway and two individuals
wearing facemasks and both armed with firearms approached him. C.4. described one individual
as about 5°10". wearing a dark ski mask. dark clothes, and what appeared to be jogging pants with
a possible white stripe down the legs. The other individual was described by C_A. as about 5°5”,
wearing similar clothing. and was possibly a female. While displaying their weapons, the two
individuals demanded C.A."s keys. wallet. and phone. The two individuals then entered C_A.’s
red. 2017 Hyundai Elantra and drove away. C.A. then went to his neighbor's residence and called

9-1-1. C.A, believed his phone was a Samsung $10 and C.A. stated he had $147 in United States

 
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currency in his wallet.

3) A patrol unit with Washington Park Police Department (PD) heard the ISPERN broadcast
in reference to an armed robbery that just occurred at XX Xxxxxxxx Kxxx. The Washington Park
PD patrol unit located the stolen red. 2017 Hyundai Elantra, bearing Iliinois registration
XXXX 104 on 1-55-70 west bound and conducted a stop of the stolen vehicle. Washington Park
PD officers took the stolen vehicle’s occupants, a black female, identified as Alexis Nicole Brown.
date of birth XX-XX-1996, and a black male. identified as Kaleb Ray-Quan Holmes, date of birth
XX-XX-2002. into custody. Law enforcement officers noticed Brown was wearing a black ski
mask on her head.

4) Law enforcement officers located $140 in United States currency inside Holmes” black
jacket pocket. Inside the vehicle. law enforcement officers located two firearms. One firearm was
a Taurus G2C 40 caliber handgun with serial number SMR37149, which was reported stolen out
of St. Louis. Missouri. The second firearm was a Glock 23 .40 caliber handgun with serial number
TMEI18. Also discovered was a Samsung cell phone belonging to C.A.. a wallet belonging to
C.A.. two black ski masks. and an additional $169 in Untted States currency.

5) Based on your affiant’s training. experience, and research. Uber Technologies. Inc..
commonly known as Uber. is a multinational ride-hailing company offering services that inchide
peer-to-peer ridesharing, ride service hailing, food delivery. and a micromobility system with
electric bikes and scooters. The company is based in San Francisca. California and has operations
in over 785 metropolitan areas worldwide. Uber’s platforms can be accessed via its websites and
mobile applications (apps). Uber drivers work as independent contractors and can use their own
vehicles to drive for Uber.

6) Also based on your affiant’s training, experience. and research. Lyfi Inc.. commonly
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known as Ly ft. is a multinational ride-hatling company offering services that include peer-to-peer
ridesharing. ride service hailing. food delivery, and a micromobility svstem with electric bikes
and scooters. The company is based in San Francisco. Califormmta and has operations in over 656
metropolitan areas worldwide. Lyft’s platforms can be aceessed via its websites and mabile
applications (apps}. Lyft drivers work as independent contractors and can use their own vehicles
to drive for Lyit.

7) As a result of the armed robbery on February 23, 2020. Uber driver C.A. reported a loss
of his vehicte. which he used to conduct business as an independent contractor for Uber and Lyit.
approximately $147.00 in United States currency. his wallet. which included the United States
currency. driver's license. credit cards, and a bank debit card. and his cell phone. which he used
to conduct business as an independent contractor for Uber and Ly ft and were part of commerce.

as that term is defined in Title 18, United States Code, Section 1951 {a).

FURTHER YOUR AFFIANT SAYETH NAUGHT.

Pi pre

RY YA E. JAMES
Special Agept. Federal Bureau of Investigation

State of Tllinois }
) SS.
County of Madison }

Sworn to before me and subscribed in my presence on the 2™ day of March 2020. at East
St. Louis. [Hinois.
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GILBERT C. SISON
Linited States Magistrate Judge

STEVEN D. WEINHOEFT
United States Attorney

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JENNIFER HUDSON

Assistant United States Attorney
